                   UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

                         DOCKET NO. 3:04CR190-T

UNITED STATES OF AMERICA,              )
                                       )         PRELIMINARY ORDER
              v.                       )           OF FORFEITURE
                                       )
THOMAS L. JACOBS                       )


      In the Bill of Indictment in this case, the United States sought

forfeiture of property of the defendant pursuant to 18 U.S.C. §982 as

property that was proceeds of and/or was used to facilitate the crimes

charged, together with any other substitute property, which would be

subject to forfeiture under 21 U.S.C. §853(p), as incorporated by

§982(b)(1).

      Defendant entered into a plea agreement; subsequently pled guilty to

Counts One, Seven, Twelve, Nineteen, Twenty-Four, and Twenty-Seven in

the Bill of Indictment; and was adjudged guilty of the offenses charged in

those counts. In the plea agreement, defendant has agreed to forfeit

property seized during the investigation of this case, as described below.

      It is therefore ORDERED:




   Case 3:04-cr-00190-RJC-SCR    Document 119    Filed 11/08/05   Page 1 of 4
                                         2

      1. Based upon defendant’s plea of guilty, the United States is

authorized to seize the following property belonging to defendant, and it is

hereby forfeited to the United States for disposition according to law, subject

to the provisions of 21 U.S.C. §853(n): the sum of $1,856 in United States

currency.

      2. Pursuant to 21 U.S.C. §853(n)(1), the government shall publish at

least once, in a newspaper of general circulation, notice of this order; notice

of its intent to dispose of the property in such manner as the Attorney

General may direct; and notice that any person, other than the defendant,

having or claiming a legal interest in any of the above-listed forfeited

property must file a petition with the Court within thirty days of the final

publication of notice or of receipt of actual notice, whichever is earlier. This

notice shall state that the petition shall be for a hearing to adjudicate the

validity of the petitioner’s alleged interest in the property, shall be signed by

the petitioner under penalty of perjury, and shall set forth the nature and

extent of the petitioner’s right, title or interest in each of the forfeited

properties and any additional facts supporting the petitioner’s claim and the

relief sought. The United States may also, to the extent practicable, provide




   Case 3:04-cr-00190-RJC-SCR       Document 119     Filed 11/08/05   Page 2 of 4
                                         3

direct written notice to any person known to have alleged an interest in

property that is the subject of this order of forfeiture, as a substitute for

published notice as to those persons so notified.

      3. Upon adjudication of all third-party interests, this Court will enter a

final order of forfeiture pursuant to 21 U.S.C. §853(n).




   Case 3:04-cr-00190-RJC-SCR      Document 119     Filed 11/08/05   Page 3 of 4
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                    Signed: November 8, 2005




Case 3:04-cr-00190-RJC-SCR   Document 119   Filed 11/08/05   Page 4 of 4
